 ProSe 15(Rev. 12/16) Complaint forViolation of Civil Rights CNon-Prisoner)



                                       United States District Court
                                                                          for the

                                                              District of Massachusetts


                                                                   Boston Division




                                                                                    Case No.

                                                                                                       (to befilled in by the Clerk's Office)
                            Joel Mateo

                             Plainlifffs)
(Write thefull nameofeachplaintiffwhoisfiling this complaint.
Ifthe names ofall theplaintiffs cannotfit in the space above,                       Jury Trial: (check one)         X Yes I I No
please write "see attached" in the space and attach an additional
page with the full list ofnames.)
                                 -V-


                                                                                                                             r"                        2:
                                                                                                                                          "lO

                                                                                                                                                       0
                                                                                                                                                       1-^
                                                                                                                                          . n
                                                                                                                           ;• vrJ                      m
     University System of New Hampshire; Frances                                                                           -f, T
                                                                                                                            j '• • -4
                                                                                                                                                        ;?sr-
                                                                                                                                          .XT
                             Canning                                                                                                                    corn

                            Defendant(s)                                                                                                   'l-Z            -n
(Writethefull name ofeach defendant who is beingsued. Ifthe                                                                1 -
                                                                                                                                                           TJ

names ofall the defendants cannotfit in the space above, please                                                              ^ t-"                         0
write "see attached" in the space and attach an additionalpage                                                                                  D          m
with thefull list ofnames. Do not includeaddresses here.)



                                 COMPLAINT FOR VIOLATION OF CIVIL RIGHTS


I.        The Parties to This Complaint

          A.        The PIaintiff(s)


                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.

                          Name                                        Joel Mateo
                          Address                                     266 East Berkeley Street, Apt. 336
                                                                      Boston                                MA                           02118
                                                                                    Citv                    Stale                       Zip Code
                          County                                      Suffolk
                          Telephone Number                            239-734-1126

                          E-Mail Address                             Crpxiv@gmail.com




                                                                                                                                                    Page 1 of 9
